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IN THE UNITED sTATEs DIsTRlCT COURT
FoR THE WESTERN DISTRICT oF TENNESSEEF
EASTERN DIvIsION ’ L E 0 By

VICKERY TRANSPORTATION, INC.,

VS. No. 02-1323-T-An

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Plaintil`f, )
)
)
)
POLLUTION CONTROL INDUSTRIES )
OF TENNESSEE, LLC, and POLLUTION )
CONTROL INDUSTRIES, INC., )
)
Defendants. )

 

ORDER DENYING MOTION FOR SUMMARY JUDGMENT OF INTERVENING
PLAINTIFFS GROCERS’ ICE AND INDIANA INSURANCE COMPANY

 

Plaintiff Vickery Transportation, Inc. (“Vickery”), filed this complaint against
Pollution Control Industries of Tennessee, LLC, and Pollution Control lndustries, lnc.
(collectively “Pollution Control”), for damages that allegedly resulted from a hazardous
Waste incident that occurred at an 1-40 truck stop in Haywood County, Tennessee.
Jurisdiction is predicated on diversity of citizenship, 28 U.S.C. § 1332. On Apri124, 2004,
Grocers’ lee and Cold Storage Company and lndiana lnsurance Company (collectively
“Grocers’ Ice") were allowed to intervene as plaintiffsl Grocers’ lce has filed a motion for

summary judgment Plaintiff and Det`endant have filed responses to the motion. For the

 

Jennie Woodland, Dianne Woodland, Latosha Woodland, and Cordaysia Lovings were allowed to
intervene as plaintiffs on July 3, 2003, and Liberty Mutual Insurance Company Was allowed to intervene on Octol)cr
22, 2003.

Thls document entered on the docket sheet ln complian 0
With Rule 58 and,'or_?g (a) FFlCP on `

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reasons set forth below, Grocers’ lce’s motion for summary judgment is DENIED.

Motions for summary judgment are governed by Rule 56 of the Federal Rules ofCivil
Procedure. To prevail on a motion for summary judgment, the moving party has the burden
of showing the “absence of a genuine issue of material fact as to an essential element of the
nonmovant's case.” Street v. J.C. Bradford & Co., 886 F.2d 1472, 1479 (6th Cir. 1989). The
moving party may support the motion with affidavits or other proof or by exposing the lack
of evidence on an issue for which the nonmoving party will bear the burden of proof at trial.
Celotex Corp. v. Catrett, 477 U.S. 317, 324 (1986). The opposing party may not rest upon
the pleadings but, “by affidavits or as otherwise provided in this rule, must set forth specific
facts showing that there is a genuine issue for trial.” Fed. R. Civ. P. 56(e).

“If the defendant . . . moves for summary judgment . . . based on the lack of proof of
a material fact, . . . [t]he mere existence of a scintilla of evidence in support of the plaintiffs
position will be insufficient; there must be evidence on Which the jury could reasonably find
for the plaintiff.” Anderson v. Libertv Lobbv` lnc., 477 U.S. 242, 252 (1986). The court‘s
function is not to weigh the evidence, judge credibility, or in any Way determine the truth
of the matter, however Anderson, 477 U.S. at 249. Rather, “[t]he inquiry on a summary
judgment motion . . . is . . . ‘Whether the evidence presents a sufficient disagreement to
require submission to a [trier of fact] or whether it is so one~sided that one party must prevail
as a matter of law.”’ M, 886 F.Zd at 1479 (quoting Anderson, 477 U.S. at 251-52).

Doubts as to the existence of a genuine issue for trial are resolved against the moving party.

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Adickes v. S. H. Kress & Cc., 398 U.S. l44, 158-59 (1970).

On the date in question, Plaintiff was hauling hazardous waste materials on behalf
of Defendant.2 While the truck was parked at a rest stop, a reaction occurred within the
trailer which caused a release of hazardous chemicals One of the nearby vehicles was a
truck owned and operated by Intervening Plaintiff Grocers’ Ice. This vehicle was allegedly
damaged by the spray of hazardous materials, and its cargo of ice blocks was lost. Plaintiff
and Defendant both contend that the other party was responsible for any damages sustained
Intervening Plaintiff contends that Plaintiff and Defendant are jointly and severally liable
for its injuries

Because federal jurisdiction in this case is based on diversity ofcitizenship, questions
of substantive law are governed by the law of the forum state. Mills v. GAF Corp., 20 F.3d
678, 681 (6th Cir.l994) (citing Erie R.R. Co. v. Tomnkins, 304 U.S. 64, 78-80 (1938)).

In Mclngge v. Balentine, 833 S.W.2d 52, 57 (Tenn.l992), the Tennessee Supreme
Court adopted the doctrine of modified comparative fault The purpose of comparative fault
is to assess liability in proportion to fault. See Owens v. Truckstops of Am., 915 S.W.2d
420, 429 (Tenn. 1996); Mclntyre, 833 S.W.Zd at 58. When “the separate, independent
negligent acts of more than one tortfeasor combine to cause a single, indivisible injury, each
tortfeasor will be liable only for that proportion of the damages attributable to its fault.”

Owens, 915 S.W.Zd at 430. The adoption of comparative fault rendered the doctrine of joint

 

2 The facts are stated for the purpose of deciding this motion only.

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and several liability obsolete. gee id.; Mclntjge, 833 S.W.2d at 58. In Whitehead v. Toyota

Motor Co_r_p., 897 S.W.2d 684, 693-94 (Tenn. 1995), the Tennessee Supreme Court held that
comparative fault principles apply t0 products liability actions

Because the trier of fact must apportion fault between the parties, summary j udgment
is not appropriate Accordingly, the motion for summary judgment of Intervening Plaintiff

Grocers’ lee and Cold Storage Company and Indiana Insurance Company is DENIED.

l`T IS SO ORDERED.

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JA S D. TODD
UN ED STATES DISTRICT .TUDGE

'A'STES DISTRICT OU

 

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Notice of Distribution

This notice confirms a copy of the document docketed as number 60 in
case 1:02-CV-01323 was distributed by faX, mail, or direct printing on
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